                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


JERMAINE A. HAMPTON,

                       Plaintiff,

                v.                                            Case No. 20-C-936

WAYNE BAUER, et al.,

                       Defendants.


                 ORDER DENYING MOTION FOR PROTECTIVE ORDER


       Plaintiff Jermaine Hampton, who is currently serving a state prison sentence at Waupun

Correctional Institution and proceeding pro se, filed a complaint under 42 U.S.C. § 1983, alleging

that Defendants violated his civil rights by failing to protect him from another inmate who

assaulted him. This matter comes before the court on Plaintiff’s motion for a protective order

against Defendants’ first request for production of documents. Dkt. No. 23.

       Plaintiff asserts that the requested medical files are not relevant to the claim. However, his

medical records are relevant to any showing of harm and damages. Defendants have a right to

review Plaintiff’s medical records concerning the incident to determine what if any injuries

Plaintiff sustained. Such information is relevant both to the seriousness of the risk Plaintiff faced

and his claim for damages. Plaintiff is therefore directed to fully respond to Defendants’ discovery

requests.

       Additionally, Federal Rule of Civil Procedure 26(c)(1) requires that any party seeking a

protective order from the court “include a certification that the movant has in good faith conferred

or attempted to confer with other affected parties in an effort to resolve the dispute without court




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action.” Plaintiff has included no such certification or any evidence showing that he attempted to

confer with Defendants prior to filing his motion.

       Based on the foregoing, Plaintiff’s motion for a protective order (Dkt. No. 23) is DENIED.

If Plaintiff wishes to proceed in this action, he must timely comply with discovery requirements

pursuant to Rules 26–37 of the Federal Rules of Civil Procedure and the court’s scheduling order

(Dkt. No. 19) or risk dismissal of his claims. Further, Plaintiff is warned that any future discovery-

related motions without the required certifications will be similarly denied.

       SO ORDERED at Green Bay, Wisconsin this 27th day of October, 2020.

                                                      s/ William C. Griesbach
                                                      William C. Griesbach
                                                      United States District Judge




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